         4:17-cr-40107-SLD # 200           Page 1 of 2                                                E-FILED
                                                                 Wednesday, 31 October, 2018 03:19:00 PM
                                                                             Clerk, U.S. District Court, ILCD

                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS
                                  AT ROCK ISLAND

UNITED STATES OF AMERICA,                         )
                                                  )
                 Plaintiff,                       )
                                                  )
        v.                                        )     Criminal No. 17-40107
                                                  )
RONALD SHAWN HASS, et al.,                        )
                                                  )
                 Defendant.                       )

                 JOINT REQUEST FOR A CHANGE OF PLEA HEARING

       COMES NOW the United States of America, by and through the undersigned Assistant

United States Attorney, and Defendant Ronald Shawn Hass, by and through his attorney Robert

J. Hills, to request that the Court schedule a hearing for the change of Mr. Hass’s plea, at a time

prior to the currently-scheduled pretrial conference.



                                              Respectfully Submitted,

                                              John E. Childress
                                              United States Attorney

                                        By: /s/ Kevin C. Knight
                                            Assistant United States Attorney
                                            1830 2nd Avenue, Suite 250
                                            Rock Island, IL 61201
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 31, 2018, I electronically filed the foregoing materials with
the Clerk of the Court using the CM/ECF system, which will send notification of such filing to all
CM/ECF participant(s) in the case.

                                                       /s/ Kevin C. Knight
                                                       Assistant United States Attorney




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